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                       EXHIBIT 10
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                                UNITED STATES DEPARTMENT OF EDUCATION
                            OFFICE OF SPECIAL EDUCATION AND REHABILITATIVE SERVICES
                                        OFFICE OF SPECIAL EDUCATION PROGRAMS




July 1, 2020

Honorable Carmen Ayala, Ph.D.
State Superintendent of Education
Illinois State Board of Education
100 North 1st Street
Springfield, Illinois 62777
Dear State Superintendent Ayala:
We have approved Illinois’ application for Federal Fiscal Year (FFY) 2020 funds under Part B of
the Individuals with Disabilities Education Act (IDEA Part B). Our approval is based on our
review of the IDEA Part B application submitted by Illinois to the U.S. Department of Education
(Department), Office of Special Education Programs (OSEP), on May 15, 2020, including the
assurances provided in Section II and incorporated by reference to this letter as noted in
Enclosure A. Our approval is also based on the State’s certification in Section II.D of its FFY
2020 application (Enclosure B), signed by you on May 15, 2020, that the State’s provisions meet
the requirements of IDEA Part B as found in Public Law 108-446, and that the State will operate
its Part B program in accordance with all of the required assurances and certifications, consistent
with 34 CFR §76.104.
Please note that OSEP Memorandum 20-01, dated January 23, 2020, explained the impact of
recent amendments to the Copyright Act, 17 U.S.C. § 121, on certain terms relevant to
Assurance 23a or 23b related to accessible instructional materials as reflected in your State’s
FFY 2020 application for funds under IDEA Part B. As a result, the term “blind and other
persons with print disabilities” has been removed from the Copyright Act and replaced with
“eligible person,” and the term “specialized format” has been removed and replaced with the
term “accessible format.” Although at this time Congress has not made conforming amendments
to section 612(a)(23) of IDEA, the Department construes Assurances 23a and 23b as
incorporating the terms “eligible person” and “accessible format.”
Please note that as part of your application for FFY 2020, your State has provided a certification,
pursuant to 34 CFR §76.104, that its application meets the requirements of IDEA Part B and that
the State will operate its Part B program in accordance with all of the required assurances and
certifications. Any changes made by the State, after OSEP approval, to information that is a part
of a State’s application, must meet the public participation requirements in 34 CFR §300.165.
Enclosed are the State’s FFY 2020 grant awards for funds currently available under Title III of
Division A of the Further Consolidated Appropriations Act, 2020 (Public Law 116-94) for the
IDEA Part B Section 611 (Grants to States) and Section 619 (Preschool Grants) programs. These
funds are available for obligation by States from July 1, 2020 through September 30, 2022, in
accordance with 34 CFR §76.709.
The amount in your award for Section 619 represents the full amount of funds to which you are
entitled. However, the amount shown in your award for the Section 611 program is only part of
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                                                           www.ed.gov

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         The Department of Education’s mission is to promote student achievement and preparation for global competitiveness
                                   by fostering educational excellence and ensuring equal access.
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the total funds that will be awarded to you for FFY 2020. Of the $12,764,392,000 appropriated
for Section 611 in FFY 2020, $3,481,009,000 is available for awards on July 1, 2020, and
$9,283,383,000 will be available for awards on October 1, 2020. Under the Section 611 formula,
in a year in which the amount available for allocations to States increases from the prior year,
subject to certain maximum and minimum funding requirements, State allocations are based on
the amount that each State received under Section 611 for FFY 1999, the relative population of
children in the age range for which each State ensures the availability of a free appropriate public
education (FAPE) to children with disabilities, and the relative population of children living in
poverty in the age range for which each State ensures the availability of FAPE to children with
disabilities. 1
For FFY 2020, the appropriation for the Preschool Grants program is $394,120,000. Under the
Section 619 formula in a year in which the amount available for allocations to States remains the
same or increases from the prior year, State allocations, subject to certain maximum and
minimum funding requirements, are based on the amount that each State received under Section
619 for FFY 1997, the relative population of children aged three through five, and the relative
population of all children aged three through five living in poverty.
Enclosure C provides a short description of how Section 611 funds were allocated and how those
funds can be used. In addition, Table I in Enclosure C shows funding levels for distribution of
Section 611 funds and the parameters for within-State allocations.
Enclosure D provides a short description of how Section 619 funds were allocated and how those
funds can be used. In addition, Table II in Enclosure D shows State-by-State funding levels for
distribution of Section 619 funds.
Section 611(e)(1)(C) of the IDEA provides that “[p]rior to expenditure of funds under this
paragraph [Section 611(e)(1) concerning funds for State administration], the State shall certify to
the Secretary that the arrangements to establish responsibility for services pursuant to [S]ection
612(a)(12)(A) are current.” We read this provision to mean that if a State does not have
interagency agreements or other arrangements in place to establish responsibility for the
provision of services, the State may not expend funds available to the State under Section
611(e)(1) [State administration funds] until the State has these agreements or arrangements in
place.
Under Section 608(a)(2) of the IDEA, each State that receives funds under IDEA Part B is
required to inform, in writing, local educational agencies located in the State of any State-
imposed rule, regulation, or policy that is not required by IDEA or Federal regulations. A State
may use the same list of State-imposed rules, regulations, and policies that it was required to
submit to the Department in Section IV of its IDEA Part B application for this purpose.



1
  The amount that a State’s allocation may increase from one year to the next is capped at the amount the State
received in the prior year multiplied by the sum of 1.5 percent and the percentage increase in the total amount
appropriated for Part B of IDEA from the prior year. Additionally, the maximum amount that a State may receive in
any fiscal year is calculated by multiplying the number of children with disabilities ages 3 through 21 served during
the 2004-2005 academic year in that State by 40 percent of the annual per pupil expenditure (APPE), adjusted by the
rate of annual change in the sum of 85 percent of the children aged 3 through 21 for whom that State ensures the
availability of FAPE and 15 percent of the children living in poverty. Because there are multiple caps, in any year
the “effective cap” on a State’s allocation is the lowest cap for that State.




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In Section V of its IDEA Part B application, pursuant to the authority in IDEA Section 618(a)(3),
the State was required to submit data on the total amount of State financial support made
available for special education and related services for children with disabilities in State fiscal
year (SFY) 2018 and SFY 2019. If OSEP receives information through audits, fiscal monitoring
or other means that raises questions about the data your State has provided in Section V, OSEP
will follow-up with your State.
Section 604 of the IDEA provides that “[a] State shall not be immune under the 11th amendment
to the Constitution of the United States from suit in Federal court for a violation of this [Act].”
Section 606 provides that each recipient of assistance under the IDEA make positive efforts to
employ and advance in employment qualified individuals with disabilities in programs assisted
under the IDEA. Therefore, by accepting this grant, your State is expressly agreeing as a
condition of IDEA funding to a waiver of Eleventh Amendment immunity and to ensuring that
positive efforts are made to employ and advance employment of qualified individuals with
disabilities in programs assisted under the IDEA.
The enclosed grant awards of FFY 2020 funds are made with the continued understanding that
this Office may, from time to time, require clarification of information within your application, if
necessary. These inquiries may be necessary to allow us to appropriately carry out our
administrative responsibilities related to IDEA Part B.
As a reminder, all prime recipients of IDEA Part B funds must report subaward information as
required by the Federal Funding Accountability and Transparency Act of 2006 (FFATA), as
amended in 2008. First-tier subaward information must be reported by the end of the following
month from when the award was made or obligated. FFATA guidance is found at
https://www.fsrs.gov/. Please contact your State’s Fiscal Accountability Facilitator if you have
further questions.
We appreciate your ongoing commitment to the provision of quality educational services to
children with disabilities.
                                                     Sincerely,



                                                     Laurie VanderPloeg
                                                     Director
                                                     Office of Special Education Programs


Enclosures
   Enclosure A (Sections II.A-C. of the State’s application)
   Enclosure B (Section II.D. of the State’s application)
   Enclosure C
   Enclosure D
cc: State Director of Special Education




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State Name: Illinois

                                                Enclosure A

Section II

A. Assurances Related to Policies and Procedures

The State makes the following assurances that it has policies and procedures in place as required by Part
B of the Individuals with Disabilities Education Act. (20 U.S.C. 1411-1419; 34 CFR §§300.100-300.174)

     Yes              No                         Assurances Related to Policies and Procedures
 (Assurance is
    given.)        (Assurance
                    cannot be
                 given. Provide
                 date on which
                    State will
                    complete
                   changes in
                     order to
                     provide
                   assurance.)
                  Check and
                 enter date(s)
                 as applicable

                                  1.   A free appropriate public education is available to all children with
                                       disabilities residing in the State between the ages of 3 and 21, inclusive,
      X
                                       including children with disabilities who have been suspended or
                                       expelled, in accordance with 20 U.S.C. 1412(a)(1);
                                       34 CFR §§300.101-300.108.

                                  2.   The State has established a goal of providing a full educational
                                       opportunity to all children with disabilities and a detailed timetable for
      X
                                       accomplishing that goal. (20 U.S.C. 1412(a)(2);
                                       34 CFR §§300.109-300.110)

                                  3.   All children with disabilities residing in the State, including children with
                                       disabilities who are homeless or are wards of the State and children
                                       with disabilities attending private schools, regardless of the severity of
                                       their disabilities, and who are in need of special education and related
      X
                                       services, are identified, located, and evaluated and a practical method
                                       is developed and implemented to determine which children with
                                       disabilities are currently receiving needed special education and related
                                       services in accordance with 20 U.S.C. 1412(a)(3); 34 CFR §300.111.

                                  4.   An individualized education program, or an individualized family service
                                       plan that meets the requirements of section 636(d), is developed,
                                       reviewed, and revised for each child with a disability in accordance with
      X
                                       34 CFR §§300.320 through 300.324, except as provided in
                                       §§300.300(b)(3) and 300.300(b)(4). (20 U.S.C. 1412(a)(4);
                                       34 CFR §300.112)

                                  5.   To the maximum extent appropriate, children with disabilities, including
                                       children in public or private institutions or other care facilities, are
      X
                                       educated with children who are not disabled, and special classes,
                                       separate schooling, or other removal of children with disabilities from
                                       the regular educational environment occurs only when the nature or
                                       severity of the disability of a child is such that education in regular


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                                     classes with the use of supplementary aids and services cannot be
                                     achieved satisfactorily in accordance with 20 U.S.C. 1412(a)(5)(A)-(B);
                                     34 CFR §§300.114-300.120.

                              6.     Children with disabilities and their parents are afforded the procedural
      X
                                     safeguards required by 34 CFR §§300.500 through 300.536 and in
                                     accordance with 20 U.S.C. 1412(a)(6); 34 CFR §300.121.

                              7.     Children with disabilities are evaluated in accordance with
      X
                                     34 CFR §§300.300 through 300.311. (20 U.S.C. 1412(a)(7);
                                     34 CFR §300.122)

                              8.     Agencies in the State comply with 34 CFR §§300.610 through 300.626
      X
                                     (relating to the confidentiality of records and information).
                                     (20 U.S.C. 1412(a)(8); 34 CFR §300.123)

                              9.     Children participating in early intervention programs assisted under Part
                                     C, and who will participate in preschool programs assisted under this
                                     part, experience a smooth and effective transition to those preschool
                                     programs in a manner consistent with section 637(a)(9). By the third
      X
                                     birthday of such a child, an individualized education program or, if
                                     consistent with 34 CFR §300.323(b) and section 636(d), an
                                     individualized family service plan, has been developed and is being
                                     implemented for the child. The local educational agency will participate
                                     in transition planning conferences arranged by the designated lead
                                     agency under section 635(a)(10). (20 U.S.C. 1412(a)(9);
                                     34 CFR §300.124)

                              10.    Agencies in the State, and the SEA if applicable, comply with the
                                     requirements of 34 CFR §§300.130 through 300.148 (relating to
                                     responsibilities for children in private schools), including that to the
                                     extent consistent with the number and location of children with
                                     disabilities in the State who are enrolled by their parents in private
                                     elementary schools and secondary schools in the school district served
      X
                                     by a local educational agency, provision is made for the participation of
                                     those children in the program assisted or carried out under this part by
                                     providing for such children special education and related services in
                                     accordance with the requirements found in 34 CFR §§300.130 through
                                     300.148 unless the Secretary has arranged for services to those
                                     children under subsection (f) [By pass]. (20 U.S.C. 1412(a)(10);
                                     34 CFR §§300.129-300.148)

                              11.    The State educational agency is responsible for ensuring that the
                                     requirements of Part B are met including the requirements of
                                     34 CFR §§300.113, 300.149, 300.150 through 300.153, and 300.175
      X
                                     and 300.176 and that the State monitors and enforces the requirements
                                     of Part B in accordance with 34 CFR §§300.600-300.602 and 300.606-
                                     300.608. (20 U.S.C. 1412(a)(11); 34 CFR §300.149)

                              12.    The Chief Executive Officer of a State or designee of the officer shall
                                     ensure that an interagency agreement or other mechanism for
      X
                                     interagency coordination is in effect between each public agency
                                     described in subparagraph (b) of 34 CFR §300.154 and the State
                                     educational agency, in order to ensure that all services described in
                                     paragraph (b)(1)(i) that are needed to ensure a free appropriate public
                                     education are provided, including the provision of such services during
                                     the pendency of any dispute under §300.154(a)(3). Such agreement or



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                                     mechanism shall meet the requirements found in
                                     20 U.S.C. 1412(a)(12)(A)-(C); 34 CFR §300.154.

                              13.    The State educational agency will not make a final determination that a
                                     local educational agency is not eligible for assistance under this part
                                     without first affording that agency reasonable notice and an opportunity
      X
                                     for a hearing. (20 U.S.C. 1412(a)(13); 34 CFR §300.155)

                              14.    The State educational agency has established and maintains
                                     qualifications to ensure that personnel necessary to carry out this part
                                     are appropriately and adequately prepared and trained, including that
      X
                                     those personnel have the content knowledge and skills to serve children
                                     with disabilities as noted in 20 U.S.C. 1412(a)(14)(A)-(E);
                                     34 CFR §300.156.

                              15.    The State has established goals for the performance of children with
                                     disabilities in the State that meet the requirements found in
      X
                                     20 U.S.C. 1412(a)(15)(A)-(C); 34 CFR §300.157.

                              16.    All children with disabilities are included in all general State and
                                     districtwide assessment programs, including assessments described
                                     under section 1111 of the Elementary and Secondary Education Act of
                                     1965, with appropriate accommodations and alternate assessments
      X
                                     where necessary and as indicated in their respective individualized
                                     education programs as noted in 20 U.S.C. 1412(a)(16)(A)-(E);
                                     34 CFR §300.160.

                              17.    Funds paid to a State under this part will be expended in accordance
                                     with all the provisions of Part B including 20 U.S.C. 1412(a)(17)(A)-(C);
      X
                                     34 CFR §300.162.

                              18.    The State will not reduce the amount of State financial support for
                                     special education and related services for children with disabilities, or
                                     otherwise made available because of the excess costs of educating
      X
                                     those children, below the amount of that support for the preceding fiscal
                                     year, unless a waiver is granted, in accordance with
                                     20 U.S.C. 1412(a)(18)(A)-(D); 34 CFR §§300.163 through 300.164.

                              19.    Prior to the adoption of any policies and procedures needed to comply
                                     with this section (including any amendments to such policies and
                                     procedures), the State ensures that there are public hearings, adequate
      X
                                     notice of the hearings, and an opportunity for comment available to the
                                     general public, including individuals with disabilities and parents of
                                     children with disabilities. (20 U.S.C. 1412(a)(19); 34 CFR §300.165)

                              20.    In complying with 34 CFR §§300.162 and 300.163, a State may not use
                                     funds paid to it under this part to satisfy State-law mandated funding
                                     obligations to local educational agencies, including funding based on
      X
                                     student attendance or enrollment, or inflation. (20 U.S.C. 1412(a)(20);
                                     34 CFR §300.166)

                              21.    The State has established and maintains an advisory panel for the
                                     purpose of providing policy guidance with respect to special education
      X
                                     and related services for children with disabilities in the State as found in
                                     20 U.S.C. 1412(a)(21)(A)-(D); 34 CFR §§300.167-300.169.

                              22.    The State educational agency examines data, including data
                                     disaggregated by race and ethnicity, to determine if significant
      X

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                                     discrepancies are occurring in the rate of long-term suspensions and
                                     expulsions of children with disabilities in accordance with
                                     20 U.S.C. 1412(a)(22)(A)-(B); 34 CFR §300.170.

                              23a.   The State adopts the National Instructional Materials Accessibility
                                     Standard for the purposes of providing instructional materials to blind
      X
                                     persons or other persons with print disabilities, in a timely manner after
                                     the publication of the National Instructional Materials Accessibility
                                     Standard in the Federal Register in accordance with
                                     20 U.S.C. 1412(a)(23)(A) and (D); 34 CFR §300.172.

                              23b.   (Note: Check either "23b.1" or "23b.2" whichever applies.

                              23b.1 The State educational agency coordinates with the National
                                    Instructional Materials Access Center and not later than 12/03/06 the
                                    SEA as part of any print instructional materials adoption process,
                                    procurement contract, or other practice or instrument used for purchase
                                    of print instructional materials enters into a written contract with the
      X
                                    publisher of the print instructional materials to:
                                     •    require the publisher to prepare and, on or before delivery of the
                                          print instructional materials, provide to the National Instructional
                                          Materials Access Center, electronic files containing the contents of
                                          the print instructional materials using the National Instructional
                                          Materials Accessibility Standard; or
                                     •    purchase instructional materials from the publisher that are
                                          produced in, or may be rendered in, specialized formats.
                                          (20 U.S.C. 1412(a)(23)(C); 34 CFR §300.172)

                              23b.2 The State educational agency has chosen not to coordinate with the
                                    National Instructional Materials Access Center but assures that it will
                                    provide instructional materials to blind persons or other persons with
                                    print disabilities in a timely manner. (20 U.S.C. 1412(a)(23)(B);
                                    34 CFR §300.172)

                              24.    The State has in effect, consistent with the purposes of the IDEA and
                                     with section 618(d) of the Act, policies and procedures designed to
      X
                                     prevent the inappropriate overidentification or disproportionate
                                     representation by race and ethnicity of children as children with
                                     disabilities, including children with disabilities with a particular
                                     impairment described in 34 CFR §300.8. (20 U.S.C 1412(a)(24);
                                     34 CFR §300.173)

                              25.    The State educational agency shall prohibit State and local educational
                                     agency personnel from requiring a child to obtain a prescription for a
      X
                                     substance covered by the Controlled Substances Act (21 U.S.C. 812(c))
                                     as a condition of attending school, receiving an evaluation under
                                     34 CFR §§300.300 through 300.311, or receiving services under the
                                     IDEA as described in 20 U.S.C. 1412(a)(25)(A)-(B); 34 CFR §300.174.




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B. Other Assurances

The State also makes the following assurances:

   Yes                                                 Other Assurances

           1. The State shall distribute any funds the State does not reserve under 20 U.S.C. 1411(e) to
              local educational agencies (including public charter schools that operate as local educational
    X
              agencies) in the State that have established their eligibility under section 613 for use in
              accordance with this part as provided for in 20 U.S.C. 1411(f)(1)-(3); 34 CFR §300.705.

           2. The State shall provide data to the Secretary on any information that may be required by the
    X
              Secretary. (20 U.S.C. 1418(a)(3); 34 CFR §§300.640-300.645.)

           3. The State, local educational agencies, and educational service agencies shall use fiscal
    X
              control and fund accounting procedures that insure proper disbursement of and accounting for
              Federal funds. (34 CFR §76.702)

           4. As applicable, the assurance in OMB Standard Form 424B (Assurances for Non-Construction
              Programs), relating to legal authority to apply for assistance; access to records; conflict of
              interest; merit systems; nondiscrimination; Hatch Act provisions; labor standards; flood
    X
              insurance; environmental standards; wild and scenic river systems; historic preservation;
              protection of human subjects; animal welfare; lead-based paint; Single Audit Act; and general
              agreement to comply with all Federal laws, executive orders and regulations.


C. Certifications

The State is providing the following certifications:

   Yes     Certifications

           1. The State certifies that ED Form 80-0013, Certification Regarding Lobbying, is on file with the
              Secretary of Education.
                With respect to the Certification Regarding Lobbying, the State recertifies that no Federal
                appropriated funds have been paid or will be paid to any person for influencing or attempting
                to influence an officer or employee of any agency, a Member of Congress, an officer or
    X           employee of Congress, or an employee of a Member of Congress in connection with the
                making or renewal of Federal grants under this program; that the State shall complete and
                submit Standard Form-LLL, "Disclosure Form to Report Lobbying," when required (34 CFR
                Part 82, Appendix B); and that the State Agency shall require the full certification, as set forth
                in 34 CFR Part 82, Appendix A, in the award documents for all sub awards at all tiers.

           2. The State certifies that certification in the Education Department General Administrative
              Regulations (EDGAR) at 34 CFR §76.104 relating to State eligibility, authority and approval to
    X
              submit and carry out the provisions of its State application, and consistency of that application
              with State law are in place within the State.

           3. The State certifies that the arrangements to establish responsibility for services pursuant to
              20 U.S.C. 1412(a)(12)(A)-(C); 34 CFR §300.154 (or 20 U.S.C. 1412(a)(12)(A);
    X
              34 CFR §300.154(a) are current. This certification must be received prior to the expenditure
              of any funds reserved by the State under 20 U.S.C. 1411(e)(1); 34 CFR §300.171.




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                                        Enclosure C
                                IDEA Grants to States Program
                                    (Part B, Section 611)
            Explanation of the Federal Fiscal Year (FFY) 2020 Allocation Table

Total Grant Award (Column B)
Column B shows your total grant award for the Grants to States program for FFY 2020 under
Title III of Division A of the Further Consolidated Appropriations Act, 2020 (Public Law 116-
94).

State total grants are calculated in accordance with several factors. First, each State is allocated
an amount equal to the amount that it received for fiscal year 1999. If the total program
appropriation increases over the prior year, 85 percent of the remaining funds are allocated based
on the relative population of children aged 3 through 21 who are in the age range for which the
State ensures the availability of a free appropriate public education (FAPE) to children with
disabilities. Fifteen percent of the remaining funds are allocated based on the relative population
of children aged 3 through 21 living in poverty who are in the age range for which the State
ensures the availability of FAPE to children with disabilities. The statute also includes several
maximum and minimum allocation requirements when the amount available for distribution to
States increases.
If the amount available for allocation to States remains the same from one year to the next, States
receive the same level of funding as in the prior year. If the amount available for allocation to
States decreases from the prior year, any amount available for allocation to States above the
fiscal year 1999 level is allocated based on the relative increases in funding that the States
received between fiscal year 1999 and the prior year. If there is a decrease below the amount
allocated for 1999, each State’s allocation is ratably reduced from the fiscal year 1999 level.
Section 611 Base Allocation to LEAs (Column C)
Column C is the portion of the local educational agency (LEA) flow-through amount that must
be distributed to LEAs based on the amounts that the LEAs would have received from FFY 1999
funds had the State educational agency (SEA) flowed through 75 percent of the State award to
LEAs. Note that this amount is less than the minimum amount that States were required to
provide to LEAs from FFY 1999 funds. The Part B regulations at 34 CFR §300.705(b)(2) clarify
how adjustments to the base payment amounts for LEAs are made.
Maximum Set-Aside for Administration (Column D)
Column D includes the maximum State set-aside amount for administration. A State may reserve
for State administration up to the greater of the maximum amount the State could reserve for
State administration from fiscal year 2004 funds, or $800,000, increased by inflation as reflected
by the Consumer Price Index for All Urban Consumers (CPIU). The maximum State set-aside
amount available for administration for FFY 2020 is a 2.0 percent increase over the maximum
amount that was available for FFY 2019. Each outlying area may reserve for each fiscal year not
more than 5 percent of the amount the outlying area receives under this program or $35,000,
whichever is greater.



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Maximum Set-Aside Available for Other State-Level Activities (Columns E - H)
The maximum level of funding that may be set aside from a State’s total allocation for State-
level activities, other than administration, is contingent upon the amount that the State actually
sets aside for administration and whether the State opts to establish a LEA high-risk pool under
IDEA, section 611(e)(3). For FFY 2020:
   (1) If the actual amount a State will set aside for State administration is over $850,000 and
       the State will use funds from its award to support a high-risk pool, the maximum amount
       the State may set aside of its total award for State-level activities (other than
       administration) is 10.0 percent of its FFY 2006 award as adjusted for inflation based on
       the CPIU.
   (2) If the actual amount a State will set aside for State administration is over $850,000 and
       the State will not use funds from its award to support a high-risk pool, the maximum
       amount the State may set aside of its total award for State-level activities (other than
       administration) is 9.0 percent of its FFY 2006 award as adjusted for inflation based on the
       CPIU.
   (3) If the actual amount a State will set aside for State administration is $850,000 or less and
       the State will use funds from its award to support a high-risk pool, the maximum amount
       the State may set aside of its total award for State-level activities (other than
       administration) is 10.5 percent of its FFY 2006 award as adjusted for inflation based on
       the CPIU.
   (4) If the actual amount a State will set aside for State administration is $850,000 or less and
       the State will not use funds from its award to support a high-risk pool, the maximum
       amount the State may set aside of its total award for State-level activities (other than
       administration) is 9.5 percent of its FFY 2006 award as adjusted for inflation based on the
       CPIU.
SEAs are required to use some portion of these State set-aside funds on monitoring, enforcement,
and complaint investigation and to establish and implement the mediation process required by
section 615(e), including providing for the costs of mediators and support personnel. In addition,
States setting aside funds for a high-risk pool, as provided for under section 611(e)(3), must
reserve at least 10 percent of the amount the State reserved for State-level activities for the high-
risk pool.
SEAs also may use State set-aside funds: (1) for support and direct services, including technical
assistance, personnel preparation, and professional development and training; (2) to support
paperwork reduction activities, including expanding the use of technology in the individualized
education program process; (3) to assist LEAs in providing positive behavioral interventions and
supports and mental health services to children with disabilities; (4) to improve the use of
technology in the classroom by children with disabilities to enhance learning; (5) to support the
use of technology, including technology with universal design principles and assistive
technology devices, to maximize accessibility to the general education curriculum for children
with disabilities; (6) for development and implementation of transition programs, including
coordination of services with agencies involved in supporting the transition of students with
disabilities to postsecondary activities; (7) to assist LEAs in meeting personnel shortages; (8) to
support capacity building activities and improve the delivery of services by LEAs to improve
results for children with disabilities; (9) for alternative programming for children with disabilities
who have been expelled from school, and services for children with disabilities in correctional
facilities, children enrolled in State-operated or State-supported schools, and children with
disabilities in charter schools; (10) to support the development and provision of appropriate
accommodations for children with disabilities, or the development and provision of alternate
assessments that are valid and reliable for assessing the performance of children with disabilities,

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in accordance with sections 1111(b) and 1201 of the Elementary and Secondary Education Act
of 1965 (ESEA); and (11) to provide technical assistance to schools and LEAs, and direct
services, including direct student services described in section 1003A(c)(3) of the ESEA to
children with disabilities, in schools or LEAs implementing comprehensive support and
improvement activities or targeted support and improvement activities under section 1111(d) of
the ESEA on the basis of consistent underperformance of the disaggregated subgroup of children
with disabilities, including providing professional development to special and regular education
teachers, who teach children with disabilities, based on scientifically based research to improve
educational instruction, in order to improve academic achievement based on the challenging
academic standards described in section 1111(b)(1) of the ESEA.
Section 611 Population/Poverty
The minimum amount that a State must flow through to LEAs based on population/poverty
equals the total award (Column B) minus the LEA base allocation (Column C), the maximum
amount available for administration (Column D), and the maximum amount available for other
State-level activities (Column E, F, G, or H). Of this amount, 85 percent must be distributed on a
pro-rata basis to LEAs according to public and private elementary and secondary school
enrollment, and 15 percent on a pro-rata basis to LEAs according to the number of children in
LEAs living in poverty, as determined by the State.




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                                         Enclosure D
                                IDEA Preschool Grants Program
                                     (Part B, Section 619)
             Explanation of the Federal Fiscal Year (FFY) 2020 Allocation Table


Total Grant Award (Column B)
Column B shows your total grant award for the Preschool Grants program for FFY 2020 under
the Title III of Division A of the Further Consolidated Appropriations Act, 2020 (Public Law
116-94).
State total grants are calculated in accordance with several factors. First, each State is allocated
an amount equal to its fiscal year 1997 allocation. For any year in which the appropriation is
greater than the prior year level, 85 percent of the funds above the fiscal year 1997 level are
distributed based on each State’s relative population of children aged 3 through 5. The other 15
percent is distributed based on each State’s relative population of children aged 3 through 5 who
are living in poverty. The formula provides several minimums and maximums regarding the
amount a State can receive in any year.
If the amount available for allocation to States remains the same from one year to the next, States
receive the same level of funding as in the prior year. If the amount available for allocation to
States decreases from the prior year, any amount available for allocation to States above the
fiscal year 1997 level is allocated based on the relative increases in funding that the States
received between fiscal year 1997 and the prior year. If there is a decrease below the amount
allocated for fiscal year 1997, each State’s allocation is ratably reduced from the fiscal year 1997
level.
Maximum State Set-Aside (Column C)
States may reserve funds for State-level activities up to an amount equal to 25 percent of the
amount they received for fiscal year 1997 under the Preschool Grants program, adjusted upward
each year by the lesser of either the rate of increase in the State’s allocation or the rate of
inflation as reflected by the Consumer Price Index for All Urban Consumers (CPIU). If a State
chooses to set-aside the maximum amount of FFY 2020 section 619 funds for State-level
activities, the amount available for making local educational agency (LEA) base payments in
Column E may be below 75 percent of the State’s FFY 1997 section 619 grant.
State educational agencies (SEAs) may use State set-aside funds: (1) for administration (limited
to no more than 20 percent of the maximum State set-aside – Column C); (2) for support services
(including establishing and implementing the mediation process required under section 615(e) of
the IDEA and 34 CFR §300.506), which may benefit children with disabilities younger than 3 or
older than 5, as long as those services also benefit children with disabilities aged 3 through 5; (3)
for direct services for children with disabilities who are eligible for services under section 619;
(4) for activities at the State and local levels to meet the performance goals established by the
State under section 612(a)(15) of the IDEA; (5) to supplement other funds used to develop and
implement a statewide coordinated services system designed to improve results for children and
families, including children with disabilities and their families (but not more than up to 1 percent
of the amount received under this program); (6) to provide early intervention services (which
shall include an educational component that promotes school readiness and incorporates
preliteracy, language, and numeracy skills) in accordance with Part C to children with disabilities
who are eligible for services under section 619 and who previously received services under Part
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C until such children enter, or are eligible under State law to enter, kindergarten; or (7) at the
State’s discretion, to continue service coordination or case management for families who receive
services under Part C, consistent with number 6.
Maximum Set-Aside Available for Administration (Column D)
Column D indicates the maximum portion of the total State set-aside amount (Column C) that
may be used to administer this program. The amount that may be used for administration is
limited to 20 percent of the maximum amount available to a State for State-level activities. These
funds may also be used, at the State’s discretion, for the administration of the Grants for Infants
and Families program (Part C).
Section 619 Base Payment for LEAs (Column E)
Column E is the portion of the LEA flow-through amount that must be distributed to LEAs based
on the amounts that the LEAs would have received from the FFY 1997 funds had the SEA
flowed through 75 percent of the State award to LEAs. Note that this amount is less than the
minimum amount that States were required to provide LEAs from the FFY 1997 funds. The Part
B regulations at 34 CFR §300.816(b) clarify how adjustments to the base payment amounts for
LEAs are made. If after the State set-aside is subtracted from the total award, the State
determines that the amount available for base payments is less than 75 percent of the State’s FFY
1997 section 619 grant, the State must ratably reduce each LEA’s base payment by the
percentage of the reduction in the total amount actually available for making base payments in
FFY 2017. For example, if the total amount in the “Base Payment for LEAs” column is $100
and the total amount available for making base payments in FFY 2019 is $90, the reduction in
the total base payment amount is 10 percent, and each LEA’s base payment for FFY 2020 must
be reduced by 10 percent. The State, if necessary, must make base payment adjustments in
accordance with 34 CFR §300.816(b) based on the ratably reduced base payments.
Section 619 Population/Poverty Factors (Column F)
Column F shows the minimum amount a State must allocate to LEAs based on population and
poverty factors if a State chooses to set aside the maximum amount of FFY 2020 section 619
funds for State-level activities. As noted above, if a State chooses to set aside the maximum
amount of FFY 2020 section 619 funds for State-level activities, the amount available for LEA
subgrants could be below the base payment amount in Column E, and the State will not have any
remaining section 619 funds available after making base payments. Therefore, the State would
be unable to make a population or poverty payment. If States with no funds in Column F reserve
the maximum amount of FFY 2020 section 619 funds for State-level activities, they would be
unable to make a population or poverty payment.
However, if a State does not set aside the maximum amount for State-level activities and
additional funds are available after making base payments, 85 percent of the remaining amount
must be distributed on a pro-rata basis to LEAs according to public and private elementary and
secondary school enrollment, and 15 percent on a pro-rata basis to LEAs according to the
number of children in LEAs living in poverty, as determined by the State.
Total State Minimum Flow-Through to LEAs (Column G)
The minimum flow-through to LEAs (Column G) is the difference between the Total Grant
Award (Column B) and the Maximum State Set-Aside (Column C). If States do not choose to
retain the maximum amount available under the State set-aside (Column C), the remaining funds
flow through to LEAs in addition to the funds in Column G.


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